              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDWARD A. WILLIAMS                          :
            Plaintiff                       :      Civil Action No. 17-CV-2641
                                            :
            v.                              :      Honorable Robert F. Kelly
                                            :
JEFFERSON B. SESSIONS III, et al.           :
                                            :
                   Defendants               :

                                Notice of Appeal


      PLEASE TAKE NOTICE that Plaintiff Edward A. hereby appeal to the

United States Court of Appeals for the Third Circuit from the Court’s Order

entered on May 24, 2019 [ECF Doc. 50].

Dated: July 23, 2019                                     Respectfully submitted,

/s/ Joshua Prince_______                                 /s/ Adam Kraut________
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                         CERTIFICATE OF SERVICE

      I, Joshua Prince, Esq., of Prince Law Offices, P.C. hereby certify that I

served a copy of the Notice of Appeal through the Court’s ECF system, as follows:

                             Anthony D. Scicchitano
                         Anthony.Scicchitano@usdoj.gov


                                                    Prince Law Offices, P.C.


Date: July 23, 2019                                 By:

                                                   __________________________
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